     Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 1 of 7


(Revised 03/2020)



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             APPEARANCE BOND: _ _ _ _ _ _ _ __                                NOV 2 4 2021
                                                                                              ANGELA E. NOBLE
                                      CASE NO.:      21-80178-CR-Marra                       CLERK U.S. DIST. CT.
                                                                                             S.D. OF FLA. - W.P.B.


UNITED STATES OF AMERICA:
                      Plaintiff,
V.                                                           USM#:
JONATHAN PAUL BONANNO
                      Defendant,
- - - - -- - - - - - - - - - - -I
I, the undersigned defendant and I or we, the undersigned sureties, jointly and severally acknowledge that we and
our pers~ l re_Esentatives, jointly and severally, are bound to pay the United States of America, the sum of
$         ;pc..-~O,(!)OCJCSt:3
                                   STANDARD CONDITIONS OF BOND

The conditions of this bond are that the defendant:

    1. Shall appear before this Court and at such other places as the defendant may be required to appear, in
accordance with any and all orders and directions re lating to the defendant's appearance in this case, including
appearance for violation of a condition of the defendant's release as may be ordered or notified by this Court or
any other United States District Court to which the defendant may be held to answer or the cause transferred . The
defendant is required to ascertain from the Clerk of Court or defense counsel the time and place of all scheduled
proceedings on the case. In no event may a defendant assume that his or her case has been dismissed unless the
Court has entered an order of dismissal. The defendant is to abide by any judgment entered in such matter by
surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.
This is a continuing bond, including any proceeding on appeal or review, which shal l remain in full force and
effect until such time as the Court shall order otherwise.

   2. May not travel outside the Southern District of Florida unless otherwise approved by the Court prior to
any such travel. The Southern District of Florida consists of the following counties: Broward, Highlands, Indian
River, Martin, Miami-Dade, Monroe, Okeechobee, Palm Beach and St. Lucie.

   3. May not change his/her present address without prior notification and approval from the U.S. Probation
Officer or the Court.

   4. Must cooperate with law enforcement officers in the collection of a DNA sample if the collection is
required by 42 U.S .C . Section 14135a.

    5. Must not violate any federal , state or local law while on release in this case. Should the defendant come
in contact with law enforcement he/she shall notify the U.S. Probation Officer within 72 hours .
      Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 2 of 7


                                                                    DEFENDANT:        JONATHANPAULBONANNO
                                                                    CASE UMBER:           21-80178-CR-Marra
                                                                    PAGE TWO



                                            SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
sp,          conditions checked below:



 1
          a. ur~ender all passports and travel documents.!..if any, to Pretrial Services and not obtain any travel documents
            during the pendency of the case;     !, l( ~ J"Z-1'   PA<( I//~/~~
 _ b. Report to Pretrial Services as follows: ( ~ as directed or_ time(s) a week in person and_ time(s) a week by
      telephone;
 ✓ c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on abi lity
      /     to pay, as determined by the U.S. Probation Officer;
 ~ d. Refrain from        L     excessive OR _ abstain from alcoho l use or any use of a narcotic drug or other controlled
            substance, as defined in section I 02 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
            a licensed medical practitioner;
 _ e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;

7 f.g. Employment   restriction(s):
       Maintain or actively seek fu-l-1--ti_m_e_e_m_p_
                                                     lo_y_m_e_n_t_;- - - - - - - - --        ------------

 ---fh. Maintain or begin an educational program;
 _
 V i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
     provide defense counse l and pretrial services with the names of a ll victims or witnesses. The prohibition
     against contact does not take effect until defense counsel receives the list. The prohibition against contact
     applies on ly to those persons on the list, but the prosecutor may expand the list by sending written notice to
     defense counsel and pretrial services. ; (Jpvr-;o P/!!.Fv1ti)e Lt Sc                              tb ~~s2
 _j. Avoid all contact with co-defendants and defendants in re lated cases, except through counsel;
 V'k.Refrain from possessing a firearm , destructive device or other dangerous weapons and shall surrender (if any),
            their concealed weapons permit to the U.S. Probation Office;
 -¥'1       None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc. , any real property they own,
            until the bond is discharged , or otherwise modified by the Court;
 _ m. May not visit commercial transportation estab li shment: airports, seaport/marinas, commercial bus terminals,
      train stations, etc. ;
          n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
             defendant' s computer equipment at his/her place of employment or on the computer at his/her residence which
             may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
             ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
             thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant's
             computer(s), at the defendant's expense, any hardware or software systems to monitor the defendant's computer
             use;
    Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 3 of 7


                                                           DEFENDANT: JONATHANPAULBONANNO
                                                           CASE UMBER: 21-80178-CR-Marra
                                                           PAGE THREE



_ o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as wel l as contribute to the costs of
     services ren_dered based on ( YJability to pay as determined by the U.S. Probation Officer - or - ( ) paid by
     U.S. Probation;
       _ Location monitoring technology at the discretion of the officer
       _J.adio Frequency (RF) monitoring (Electronic Monitoring)           /
       \[_ Active GPS Monitoring     J y pµ DA-y / I { z'-7 fc}-O ..:t._, J
       - (Voice Recognition                            {OfH "f)rH
       _
       V Curfew: You are restricted to your residence every day from _ _ to£       , or as directed by the supervising
          officer.
                                                        OR
       _Home Detention: You are restricted to your residence at al l times except for:
         ( ) medical
         ( ) substance abuse or mental health treatment
         ( ) court appearances
         ( ) attorney visits or court ordered obligations
         ( ) religious serv ices
         ( ) employment
         ( ) other activities as pre-approved by the supervising officer
-    p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
        halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
        Services or ( ) based on the defendant ' s abi Iity to pay. You are restricted to the residential re-entry
        center/ha lfway house at all times except for:
       (   ) employment
       (   ) education
       (   ) religious services
       (   ) medical, substance abuse, or mental health treatment
       (   ) attorney visits
       (   ) court appearances
       (   ) court ordered obligations
       (   ) reporting to Pretrial Services
       (   ) other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ q. Third-Party Custody: _ __ _ _ _ _ _ __ _ _ _ _ _will serve as a third party custodian and will
     report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
     requirements, the ·third party custodian can be subject to the provisions of 18 U.S .C. § 401, Contempt of
     Court.
     r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
        U.S.C . l030(e)(l)), other electronic communication or data storage devices or media, or office, to a search
        conducted by a United States Probation Officer. The defendant must warn any other occupants that the
        premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
        time and in a reasonable manner.
Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 4 of 7


                                                             DEFENDANT: JONATHAN PAUL BONANNO
                                                             CASE NUMBER: 21-80178-CR-Marra
                                                             PAGE FOUR


_ s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restnct1ons on personal
  associations, place of abode, or travel, to avoid all contact w ith an alleged victim of the crime and with a
  potential witness who may testify concerning the offense; report on a regular basis to a designated law
  enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
  monitoring) and refrain from possessing a firearm , destructive device or other dangerous weapons .
_ t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
         1. (   ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                     by the Co urt or a llowed by the U.S. Probation Officer.
         2. (   )   The defendant shall not possess or use any data encryption technique or program and shall
                     provide passwords and ad mini strative rights to the U.S. Probation Officer.
         3. (   )   Defendant shall participate in special ized sex offender evaluation and treatment, if necessary,
                     and to contribute to the costs of services rendered based on ab ility to pay, as determined by
                     the U.S. Probation Office.
         4. (   )   Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                     and/or computer. Additionally, the defendant is prohibited from using another individual's
                     computer or device that has internet capability.
         5. (   )   Defendant is prohibited from establishing or maintaining any email account or social media
                     account. Additional ly, the defendant is prohibited from using another individual's email account
                     or social media acco unt. Must provide monthly or upon request, personal phone and credit card
                     billings to Pretrial Services.to confirm there are no services with any internet services provider.
         6. (   )   Defendant is not permitted to enter places where children co ngregate including, but not limited
                     to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                     amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
         7. (   )   The defendant shall not be involved in any children's or youth organizations.
         8. (   )   Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                     sexually stimu lating visual or auditory material, including te lephone, electronic media,
                     computer programs, or computer serv ices.
         9. (   )   The defendant shall participate in a maintenance polygraph examination to periodically
                    investigate the defendant's compliance. The polygraph examination shal l specificall y address
                    on ly defendant's comp liance or non-compliance with the special conditions of release and shall
                    not inquire into the facts of the pending criminal case against defendant. The defendant wi ll
                    contribute to the costs of services rendered (co-payment) based on ability to pay or availab il ity
  /                 of third party .payment.
_
✓ u.  May travel to and from:         t) Q~                , and must notify Pretrial Services of travel plans before
   leaving and upon return.

_ v. Comply with the following additional conditions of bond:               _     , •        ~~     ii    A
       [)ER:::-'A JPA~ S'~               N o,- ~                                 IY..Afl..l_      Un/V~       "f}4.
          /lt1t'L ,UD    G~t'CM . h                                             tLA:A./211        !£ff¼ 'Afr
          S /t=A=L L S (:;cJ -L_ A-:llLD p8 r,tt ·r v                        /4 F{J;JR.J'1;;;/-h
   Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 5 of 7


                                                              DEFENDANT: JONATHANPAULBONANNO
                                                              CASE NUMBER: 21 -80178-CR-Marra
                                                              PAGE FIVE


                     PENAL TIES AND SANCTIONS APPLICABLE TO DEFENDANT

        Violation of any of the foregoing conditions of re lease may result in the immediate issuance of a warrant
for the defendant's arrest, a revocation of release, and order of detention, as provided in 18 U.S.C. §3148,
forfeiture of any bail posted, and a prosecution for contempt as provided in 18 U.S.C. §401, which could result
in a possible term of impriso nment or a fine.

       The commission of any offense whi le on pretrial release may result in an additional sentence upon
conviction for suc h offense to a term of imprisonment of not more than ten years, if the offense is a felony; or a
term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itse lf.

        Title 18 U.S.C. § 1503 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine
to intimidate or attempt to intim idate a witness, juror or officer of the court; 18 U .S .C. § 1510 makes it a felony
criminal offense punishable by imprisonment and a $250,000 fine to obstruct a criminal investigation; 18 U.S.C.
§ 1512 makes it a felony criminal offense punishable by imprisonment and a $250,000 fine to tamper with a
witness, victim or informant; and 18 U .S.C. § 1513 makes it a felony criminal offense punishable by imprisonment
and a $250,000 fine to retaliate aga inst a witness, victim or informant, or threaten to do so.

         It is a criminal offense under 18 U .S.C. §3 146, if after having been released, the defendant knowingly
fails to appear as required by the .conditions of release, or to surrende r for the service of sentence pursuant to a
court order. If the defendant was released in connection with a charge of, or whi le awaiting sentence, surrender
for the service of a sentence, or appeal or certiorari after conviction for:

     ( I) an offense punishab le by death, life imprisonment, or imprisonment for a term of fifteen years or more
          the defendant shall be fined not more than $250,000 or im prisoned for not more than ten years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
         defendant shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
         yea rs , or both ;
     (4) a misdemeanor, the defe ndant shall be fined not more than $100,000 or imprisoned not more than one
         year, or both .


        A term of imprisonment imposed for fa ilure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may resu lt in the forfeiture of any bai l posted,
which means that the defendant will be ob ligated to pay the fu ll amount of the bond , which may be enforced by
all applicable laws of the United States.
   Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 6 of 7


                                                                                      DEFENDANT: JONATHAN PAUL BONANNO
                                                                                      CASE NUMBER: 21-80178-CR-Marra
                                                                                      PAGE SIX

                                                                        S APPLICABLE TO SURETIES
Violation by the defendant of any o f the forego ing conditions of release wi ll result in an immediate ob ligation by the surety or sureti es
to pay the fu ll amou nt of the bond. Forfeiture of the bo nd for any breach of one or more cond itio ns may be declared by a judicial officer
of any United States District Court having cognizance of the above entitled matter at the time of such breach, and if the bond is forfeited
and the forfeiture is not set aside or remitted, judgment may be entered upon motion in such United States District Court against each
surety jointly and severally for the amou nt of the bond, together with interest and costs, and execution may be issued and payment
secured as provided by the Federal Rul es of Crimina l Procedure and other laws of the United States.

                                                                S IGNATUR ES
I have carefully read and I understand this entire appearance bond consisting of seven pages, or it has been read to me, and, if necessary,
translated into my native language, and I know that I am obl igated by law to comply with a ll of the terms of this bond. I promise to obey
a ll conditions of this bond , to appear in court as required, and to surrender for service of any sentence imposed . I am aware of the
penalties and sanctio ns outlined in this bond for vio latio ns of the terms of the bond .

If I am an agent acti ng for or on behalf of a corporate surety, I further represent that I am a duly authorized agent for the corporate surety
and have full power to exec ute this bond in the amount stated.

                                                                    DEFENDA NT
Signed thi s     24th   day of    November                      , 20 ~ at West Pal m Beach, Florida               1
                                                                                                                      ~~
Signed and acknowledged before me:                                                                   · !--~~.,;;;,ii;~-~
                                                                        DEFEN DA T: (Signature) ;;,1~--1           -------
WITNESS:
               --------------- /4,Afl '                                                            City
                                                                                                            u         ~€L=--~ - -
                                                                                                                               State

        City                            State


                    L.j7l+                              ~   CORPORATE SURETY                                 .
Signed this      ;2.    day of   N(}Vt:ft./ldt'JL. ,20 ~                     at    lA.J ea                ~rida

SURETY:        /a"f1i,to()   f/4/,~111,/        ',JlAA.(/J(,(                AGENT: (Signature)           ~-------,-..a,,r;;.-----                      ,.-   .
                                     fl .                                    PRINT NAME:                  m ;j~ k"-"1..                _ ,   ._..,.__   ~
          City                              State

                                                            INDIVIDUAL SURETIES
Signed this       dayof _ _ _ _ _ ,20_at _ _ _ _ Florida                          Signed this        dayof _ _ _ _ _ ,20_at _ _ ___, Florida
SURETY: (Signature)                                                               SURETY: (Signature) _ _ _ _ _ _ _ _ _ _ _ _ __
PRINT NAME :                                                                      PRI NT        AME: _ _ _ _ _ _ _ _ _ _ _ _ _ __
RELATIONSHCP TO DEFENDANT:                                                        RELATIONSHIP TO DEFENDANT:
                                                                                                                      ----------
                 City                               State                                   City                               State

Signed this       dayof _ _ _ _ _ ,20_at _ _ _~                    Florida        Signed this        dayof _ _ _ _ _ ,20_at _ _ ___J Florida
SU RETY: (Signature)                                                              SU RETY: (Signature) _ _ _ _ _ _ _ _ _ _ _ _ __
 PRINT        AME:                                                                PRI T         AME : _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 RELATIO SHCP TO DEFENDANT:                                                       RELATIO SHCP TO DEFENDANT: _ _ _ _ _ _ _ __


                 City                               State                                                                      State

                                                      APPROVAL BY T

 Date:         November 24 , 2021
                                                                                   William Matthewman
                                                                                   UNITED STATES MAGIS
             Case 9:21-cr-80178-KAM Document 30 Entered on FLSD Docket 11/24/2021 Page 7 of 7

  The face of this document has microprinting and "VOID" when copied. Paper
  has a printed watermark , invisible fibers, and coin reactive authentication.


 Only the Original Power of Attorney will                          POWER OF ATTORNEY
                                                                                                         I II IIII II II I I II II 111111111111111
                                                                                                                                               2021-FF-001202
 bind this surety.                                      LEXINGTON NATIONAL INSURANCE CORPORATION                                                                     Power No. 2021-FF-                                 QQ12 Q2
                                                                    P.O. Box 6098, Lutherville, Maryland 21094 • 410-625-0800                                        THIS POWER OF ATTORNEY NULL ANO VOID UNLESS USED BEFORE               .1L1122
                                                                                   info@lexingtonnational.com
KNOW ALL MEN BY THESE PRESENTS, that LEXINGTON NATIONAL INSURANCE CORPORATION, a corporation duly organized and existing under the laws of the State of Florida, hereby constitutes and
appoints, subject to any General Qualifying Power of Attorney or other legal prerequisite, as its true and lawful attorney-in-fact the person signing below as Attorney-in-Fact, with full power and authority to sign
the Company's name and affix it's corporate seal to, and deliver on its behalf as surety, any and all obligations as herein provided, and the execution of such obligations in pursuance of these presents shall be as
binding upon the Company as fully and to all intents and purposes as if done by the regularly elected officers of the Company at its home office in their own proper person; and the Company hereby ratifies and
confirms all and whatsoever its attorney-in-fact may lawfully do and perfonm in the premises by virtue of these presents.
THE OBLIGATION OF THE COMPANY SHALL NOT EXCEED THE SUM OF TWO HUNDRED FIFTY THOUSAND FIVE DOLLARS (250,005.00).THIS POWER OF ATTORNEY IS VOID IF
ALTERED OR ERASED, VOID IF USED TO FURNISH BAIL ON THE SUBJECT BOND IN EXCESS OF THE STATED MAXIMUM AMOUNT OF THIS POWER AND VOID IF USED
WITH OTHER POWERS OF THIS COMPANY OR OTHER POWERS OF OTHER COMPANIES TO MAKE BAIL ON THE SUBJECT BOND. EACH POWER OF ATTORNEY CAN
ONLY BE USED ONCE AND MAY BE EXECUTED ONLY FOR RECOGNIZANCE ON CRIMINAL BAIL BONDS.
                    ru;p l)()o                                                            I                                             I IN WITNESS WHEREOF, LEXINGTON NATIONAL INSURANCE CORPORATION,
Bond Amount: $ E,<.J...j,✓
                         ~-~-------,..-----,..-------- NOT VALID FOR IMMIGRATION BONDS                                                   by virtue of authority conferred by its Board of Directors, has caused these presents
                     /         _L..            ff /         4-_                                                                          to be sealed with its corporate seal, signed by its President and attested by its
Defendant:        .,,,   121) m11>             [Ii u        .!70/')A/l/l O                                                               Secretary on April 9, 1996.


First Court Date: - - - - - - - - Case Number:                             tL/- Sa 11 e, - C/l..-                  /.ll+H /4!-' P,es:::;:e                      h            --:--:::____,

                                                                                                                                                                                                     ----

                                                                                                                                         Secretary
                                                                                                                                                     .~di~
                                                                                                                                     1. Aseparate Power of Altornay must be attached to mh bond emuted,
                                                                                                                                     2 Powers of Attorney must l!2l be returned to attorney-In-lac~ but should remain 1n apermanent part of court
                                                                                                                                        records.
                                                                                                                                     3. Tho authority of such attorney-in-fact Is limited to appearance bonds and cannot be construed to guarantee
                                                                                                                                        defendant's luturt lawful conduc~ adherence to release condtt10ns, tra,ei limitations, payment of llm,
                                                                                                                                        restitution, or penalties, or any other conditions Imposed by acourt not specifically related to court appearance,
